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Stephen Manning (SBN 013373)                   Karen C. Tumlin (admitted pro hac vice)
stephen@innovationlawlab.org                   karen.tumlin@justiceactioncenter.org
Nadia Dahab (SBN 125630)                       Esther H. Sung (admitted pro hac vice)
nadia@innovationlawlab.org                     esther.sung@justiceactioncenter.org
INNOVATION LAW LAB                             JUSTICE ACTION CENTER
333 SW Fifth Avenue #200                       P.O. Box 27280
Portland, OR 97204                             Los Angeles, CA 90027
Telephone: +1 503 241-0035                     Telephone: +1 323 316-0944
Facsimile: +1 503 241-7733

Attorneys for Plaintiffs



                           UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                 PORTLAND DIVISION

JOHN DOE #1; JUAN RAMON MORALES;               Case No.: 3:19-cv-01743-SB
JANE DOE #2; JANE DOE #3; IRIS
ANGELINA CASTRO; BLAKE DOE;
BRENDA VILLARRUEL; and LATINO
NETWORK,

                            Plaintiffs,
       v.                                      DECLARATION OF STACEY POGUE
                                               IN SUPPORT OF PLAINTIFFS’
                                               MOTION FOR A PRELIMINARY
                                               INJUNCTION

DONALD TRUMP, in his official capacity as
President of the United States; U.S.
DEPARTMENT OF HOMELAND
SECURITY; KEVIN MCALEENAN, in his
official capacity as Acting Secretary of the
Department of Homeland Security; U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; ALEX M. AZAR II, in
his official capacity as Secretary of the
Department of Health and Human Services;
U.S. DEPARTMENT OF STATE;
MICHAEL POMPEO, in his official capacity
as Secretary of State; and UNITED STATES
OF AMERICA,

                            Defendants.
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                   DECLARATION OF STACEY POGUE, MPAff

       I, Stacey Pogue, hereby declare:

       1.      I am a Senior Policy Analyst with the Center for Public Policy Priorities

(CPPP) in Austin, Texas. CPPP was founded by the Benedictine Sisters of Boerne, Texas

in 1985 to advance public policy solutions for expanding access to health care for low-

income and other disenfranchised Texans. CPPP became an independent, tax-exempt

research and policy organization in 1999. Since our founding, CPPP has worked to

promote policies that would expand access to affordable and adequate health coverage to

improve both health care access for and financial security of Texas families. CPPP’s

research is frequently cited by policymakers and the media. Policymakers, the media,

and state agency staff often seek out technical assistance or advice from CPPP policy

experts.

       2.      If called as a witness, I could and would competently testify to the

following.

       A.      Qualifications

       3.      At CPPP, I work to improve access to health care coverage for low- and

moderate-income Texans. For 11 years with CPPP, I have managed research, policy, and

advocacy efforts aimed at making private health insurance coverage more affordable and

accessible to lower income Texans and improving consumer protections in health care

coverage, so it provides meaningful financial security.

       4.      I have worked on policies to improve access to health coverage for Texans

for 14 years. Before working at CPPP, I worked on health coverage policy in the

Medicaid and CHIP Division of the Texas Health and Human Services Commission and

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at the Texas Department of Insurance. I have an undergraduate degree from Texas A&M

University and Master’s in Public Affairs from LBJ School of Public Affairs at the

University of Texas at Austin.

        5.      In 2004-05, I worked with the Texas Department of Insurance to research

coverage in and access to student health insurance policies. Before the Affordable Care

Act passed, student health insurance policies shared many features with short-term,

limited duration health insurance coverage such as limited benefits, broad and numerous

exclusions, and policy maximums. As part of my research, I surveyed insurers, colleges,

and students, and I also read through every plan brochure or summary of coverage for

plans in Texas to catalog benefits and exclusions. That work formed my graduate school

thesis which was published in the Innovations in Insurance series by the LBJ School of

Public Affairs1 and also formed the bulk of a report released by the Texas Department of

Insurance. 2

        6.      At CPPP, I have written numerous reports, blog posts, rules comments,

and other materials focused on improving access to and adequacy of private health

insurance. Attached to this Declaration as Exhibit A is a true and correct copy of my

resume, which lists many of my reports.

        7.      I have been selected twice, in 2010 and 2011, by the National Association

of Insurance Commissioners to serve as a funded consumer representative. I have also

been appointed by the Texas Commissioner of Insurance to serve on the Utilization




1 Pogue, S. “Covering Uninsured College Students in Texas, the Role of Student Health Insurance,”

Innovations in Insurance, LBJ School of Public Affairs Special Project Report, 2005.
2 Texas Department of Insurance, “Insurance Options for College Students in Texas: A Study of
Student Health Insurance Plans,” November 2005.
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Review Rule Advisory Committee and the Independent Review Organizations Advisory

Group.

         8.     I frequently give public testimony including invited testimony to the Texas

Legislature on private health insurance issues that affect consumers, particularly low-

income consumers. I have also provided testimony to the Texas Department of Insurance

during rulemaking hearings.

         9.     My expertise on health insurance issues is frequently sought out by Texas

and national media. My research and advocacy have been cited by the New York Times,

National Public Radio, the CBS Evening News, the Atlantic, Vox, Houston Chronicle,

Dallas Morning News, Austin American Statesman, San Antonio Express News, and

other media outlets.

         10.    As part of my job, I stay up-to-date on federal and state changes that affect

the availability, affordability, and adequacy of private health insurance, particularly of

plans sold in the individual market and through the Health Insurance Marketplace.

         11.    In October 2018, I read through all of the plan brochures for short-term,

limited duration health insurance for sale in Houston and Austin, Texas through

ehealthinsurance.com, a prominent online “web-broker” that markets both ACA-

compliant and short-term, limited duration health plans to individuals. It has been

approved by the Center for Medicare and Medicaid Services as a registered web-broker

that can offer “direct enrollment” in qualified health plans through a website other than

HealthCare.gov.3 The multiple available plan offerings I reviewed were underwritten by



3Centers for Medicare and Medicaid Services, “July 2019 Direct Enrollment Web-broker Public List,”
July 12, 2019, https://www.cms.gov/CCIIO/Programs-and-Initiatives/Health-Insurance-
Marketplaces/Downloads/July-2019-Public-WBE-List.pdf.
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five different insurers. I analyzed plan benefits and exclusions to gain an understanding

of the scope of and limits to coverage available. I have also researched policies enacted

by states that restrict sales of short-term plans beyond what is allowed under federal rule.

       12.     In preparing to give this declaration, I reviewed the Presidential

Proclamation on the Suspension of Entry of Immigrants Who Will Financially Burden the

United States Healthcare System (the Proclamation) and the Motion for a Temporary

Restraining Order. I also reviewed my previous work on short-term, limited duration

health plans and information and coverage available on websites that market visitor

medical insurance.

       B.      Observations and Opinions

       13.     In my opinion, the limited “approved health insurance” options in the

Proclamation are counterproductive to achieving the Proclamation’s goal of protecting

the health care system and American taxpayers “from the burdens of uncompensated

care.” The options that would be most available to immigrants seeking entry to the

United States, either legally or practically, often have very limited coverage – leaving

enrollees underinsured and at risk of generating uncompensated health care. Even these

limited-benefit coverage options may not be available for purchase by all immigrants due

to health status and other factors.

       14.     The most effective way of guarding against uncompensated care, by

immigrants or any other person, would be to ensure access to affordable and

comprehensive health insurance. The Proclamation’s exclusion of the most accessible

forms of affordable and comprehensive coverage—plans in the Health Insurance

Marketplace, for which Advance Premium Tax Credits are available to eligible

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individuals, and Medicaid (allowed under the Proclamation only for children)—is

counterproductive to achieving the stated goal of reducing uncompensated care costs.

        15.     The most reasonably available plans in the list of eight “approved health

insurance” options for immigrants seeking entry to the United States appear to be short-

term, limited duration health insurance and visitor health insurance for all of the reasons

already articulated in the Motion for Temporary Restraining Order.

        16.     Immigrants in less-than-perfect health may be unable to buy short-term,

limited duration coverage. These plans are medically underwritten, meaning an applicant

has to provide information on his or her health status and can be denied coverage due to

pre-existing medical conditions. Even if these plans can be purchased by people outside

of the U.S., immigrants who are in less-than-perfect health may be denied a short-term,

limited duration health insurance policy due to medical underwriting. Before the

Affordable Care Act (ACA), plans in the individual health insurance market in most

states including Texas were medically underwritten. More than one-in-four (27 percent)

of U.S. adults ages 18-64 have a health condition that would result in a coverage denial

under pre-ACA medical underwriting, and nearly half (45 percent) of American non-

elderly families include at least one adult with a declinable medical condition. 4 Given the

high rates of declinable medical conditions among non-elderly American adults, it is

reasonable to assume that medical underwriting used by short-term, limited duration

plans would be a significant barrier that would prevent many immigrants from purchasing




4 Claxton, G, Cox, C, Damico, A, Levitt, L, and Pollitz, K, “Pre-Existing Condition Prevalence for
Individuals and Families,” Kaiser Family Foundation, October 4, 2019, https://www.kff.org/health-
reform/issue-brief/pre-existing-condition-prevalence-for-individuals-and-families.

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a short-term coverage. Examples of declinable conditions under pre-ACA medical

underwriting include common health conditions like pregnancy, diabetes, heart disease,

obesity, and mental health conditions.5

             17.   If an immigrant is in good health and is able to purchase short-term,

limited duration coverage, that policy is unlikely to guard against uncompensated care in

the event the immigrant experiences a serious illness or injury. Benefits in these plans are

often limited and the plans contain numerous broad and unusual exclusions. None of the

plans I have examined cover pre-existing conditions or maternity. Preventive care, such

as immunizations, contraception, annual check-ups, is often excluded. If coverage of

prescription drugs (outside of hospital confinement), mental health disorders, and

substance use disorder is not completely excluded, then it is often limited by caps on the

dollar amount of coverage per day or year or the number of visits covered. Short-term

policies often include unusual exclusions that are not found in job-based coverage or

ACA-compliant coverage. These exclusions are often related to expensive health care

services and could lead to uncompensated care costs. Examples of exclusions include, no

coverage for: (1) cancer that has symptoms that start between the first and 30th day of the

policy; (2) certain surgical procedures during the first 6 months of the policy including

hysterectomy, hernia repair, tonsillectomy, ear tubes, sinus surgery, and gall bladder

surgery; (3) transplants; (4) pain disorders; (5) immunodeficiency disorders; (6) end-stage

renal disease; (7) joint replacement or treatment of joints; (8) conditions of the skin; (9)

self-inflicted injuries; and (10) injuries sustained while engaging is a hazardous activity,

like rock or mountain climbing, hang gliding, racing any vehicle, flying in an aircraft


5   Ibid.
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(other than commercial airlines), scuba diving, riding in all-terrain vehicles, playing in

interscholastic or organized competitive sports league.

       18.     Despite coverage in a short-term, limited duration plan, an individual

could still generate uncompensated care costs in the event of serious illness or injury

because of the common use “policy maximums,” dollar amounts over which the health

insurance will cover no additional costs, in short-term plans. Every plan I examined had

one, with maximums ranging from $500,000 to $5,000,000 for the policy term. Put

another way, short-term plans are designed to limit the financial exposure of the insurer

to the detriment of the policy holder, health care providers, and taxpayers who would be

on the hook to cover costs above the maximum. This structure is essentially the reverse of

ACA-compliant plans and employer-sponsored plans, which cap the exposure of the

policy holder to protect against medical bankruptcy and uncompensated care. The

Affordable Care Act prohibits lifetime and annual limits in most health coverage. The

ACA also requires most plans to have an out-of-pocket maximum after which the plan

must cover 100% of covered, in-network benefits.

       19.     If an immigrant is in good health and is able to purchase short-term,

limited duration coverage, that does not guarantee that the immigrant will be able to

maintain the policy for the full contract term. The Affordable Care Act prohibits

rescission (retroactive cancelation of a policy back to the date of enrollment); but that

protection does not extend to short-term, limited duration coverage. Before the ACA,

insurers used rescission as a strategy to avoid paying for expensive health care by

alleging—after the diagnosis with a serious condition or pre-approval for an expensive

procedure—that the enrollee omitted information on his/her application, even if the

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omission was inadvertent.6 When a policy is rescinded, that leaves the former

policyholder liable for all costs incurred during the policy term, creating the potential for

significant uncompensated care costs. From recent news stories, it appears that short-

term, limited duration insurers are using rescission as a tool to limit their exposure to

high-cost claims, 7 a practice that will likely only increase now that short-term policies

can be sold with a term of up to a year due to a 2018 federal rule change.

        20.     There is not, to my knowledge, a body of research on coverage in or limits

to “visitor health insurance plans,” the same way there is a developed body of knowledge

on short-term, limited duration insurance, for example. To the degree that they are similar

to short-term, limited duration health insurance, they would often have limited coverage;

a policy maximum; broad exclusions including for pre-existing conditions, maternity,

mental health disorders, and preventive care. These plans are not subject to the

Affordable Care Act’s requirements to ensure coverage is comprehensive and guards

against medical bankruptcy and uncompensated care costs including: (1) coverage of

Essential Health Benefits; (2) no discrimination against pre-existing conditions; (3) no

lifetime, annual, or policy maximum limits to coverage; and (4) required out-of-pocket

maximums to limit an enrollee’s financial exposure. Given that, these plans are unlikely

to be designed to provide comprehensive coverage that guards against medical

bankruptcy and uncompensated care costs.

        I hereby declare under penalty of perjury that the foregoing is true and correct.



6 NPR, “Insurers Revoke Policies to Avoid Paying High Costs,” June 22, 2009,
https://www.npr.org/templates/story/story.php?storyId=105680875
7 Levy, N., “Skimpy health plans touted by Trump bring back familiar woes for consumers,” Los

Angeles Times, April 2, 2019, https://www.latimes.com/politics/la-na-pol-trump-shortterm-health-
insurance-consumer-problems-20190402-story.html.
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     DATE: November 6, 2019




                                   ____________________________________
                                   Stacey Pogue, MPAff




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